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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                              )
                                    )                  Chapter 11
MIDNIGHT MADNESS DISTILLING,        )
LLC,                                )
                                    )                  Case No. 21-11750 (MDC)
                  Debtor.           )
                                    )
 __________________________________ )

                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this 29th day of June, 2021, true and correct

copies of the Notice of Motion, Response Deadline and Hearing Date, were served via regular

first-class mail, postage prepaid, upon the parties on the attached list.




                                                   FLASTER/GREENBERG P.C.

Dated: June 29, 2021                          By: /s/ William J. Burnett
                                                  William J. Burnett, Esquire
                                                  1835 Market Street, Suite 1050
                                                  Philadelphia, PA 19103
                                                  Telephone 215-587-5680
                                                  Facsimile 215-279-9394

                                                   Counsel for Debtor




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                                                 SERVICE LIST
Bergey's Commercial Tire Centers    Blank Rome                         Polebridge
3161 Penn Avenue                    501 Grant Street                   118 N. Main Street
Hatfield, PA 19440                  Union Trust Building               Trumbauersville, PA 18970
                                    Suite 850
                                    Pittsburgh, PA 15219
Betsy Moyer Taxes                   Norris McLaughlin                  Toyota Industries Commercial Finance
105 Chestnut Drive                  515 West Hamilton Street           1999 Bryan Street
Quakertown, PA 18951                Suite 502                          Suite 900
                                    Allentown, PA 18101                Dallas, TX 75201


Dutch Valley Food Dist              Iron Heart Canning Company, LLC    Vanguard/Ascensus
P.O. Box 465                        7130 Golden Ring Road              P.O. Box 28067
Myerstown, PA 17067                 Essex, MD 21221                    New York, NY 10087



First Western Bank & Trust          Merican Mule LLC                   Jennifer L. Maleski, Esquire
100 Prairie Center Drive            150 The Promenade N                Dilworth Paxson
Eden Prairie, MN 55344              Long Beach, CA 90802               1500 Market Street, Suite 3500E
                                                                       Philadelphia, PA 19102


Isuzu Finance of America            OK Kosher Certification            Office of Chief Counsel
2500 Westchester Avenue             391 Tryo Avenue                    Pennsylvania Liquor Control Board
Suite 312                           Brooklyn, NY 11213                 401 Northwest Office Building
Purchase, NY 10577-2578                                                Harrisburg, PA 17124-0001


Landis Pallet & Box Co Inc.         PNC Equipment Finance              PNC Bank NA
P.O. Box 126                        995 Dalton Avenue                  500 First Avenue
East Greenville, PA 18041           Cincinnati, OH 45203-1101          Pittsburgh, PA 15219



Mike Boyer                          The Cincinnati Insurance Company   Soiree Partners
4406 Lowell Road                    334 Jefferson Court                3401 Liberty Avenue
Wilmington, DE 19802                Collegeville, PA 19426             Pittsburgh, PA 15201-1322



NIC                                 Kevin P. Callahan, Esquire         Matthew Hamermesch, Esquire
609 E. King Street                  Office of the U.S. Trustee         Hangley Aronshick Segal Pudlin Schiller
P.O. Box 1985                       Custom House                       One Logan Squire
York, PA 17403                      200 Chestnut Street, Suite 500     18th & Cherry Streets, 27th Floor
                                    Philadelphia, PA 19106             Philadelphia, PA 19103-6933

Berks Plant Design & Maintenance    Ore Rentals                        American Express
150 Birch Hill Road                 699 N West End                     P.O. Box 650448
Shoemakersville, PA 19555           Quakertown, PA 18951               Dallas, TX 75265




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                                                 SERVICE LIST
Department of the Treasury          Grain Processing Corp              Nationwide
1500 Pennsylvania Avenue, NW        250 Technology Drive W             P.O. Box 742522
Washington, DC 20220                Clearfield, PA 16830               Cincinnati, Ohio 45274-2522



American Supply Company             Ronald Frank                       Anthony Lorubbio
2411 N. American Street             1675 Glouchester Court             3014 Franklin Blvd
Philadelphia, PA 19133              Sewickley, PA 15143                Upper Unit
                                                                       Cleveland, OH 44113


D.J. Whelan & Co.                   Utica National Insurance           Andrew W. Bonekemper, Equire
100 S. Summit Street                180 Genesee Street                 Fox Rothschild, LLP
Detroit, MI 48209                   New Hartford, NY 13413             10 Sentry Parkway, Suite 200
                                                                       P.O. Box 3001
                                                                       Blue Bell, PA 19422-3001
Express Employment Professionals    Pennsylvania Treasury Department   Albatrans, Inc.
106 Centre Boulevard                613 North Street                   149-10 183rd Street
Suite 1                             Harrisburg, PA 17120               Jamaica, NY 11413
Marlton, NJ 08053


McMaster-Carr Supply Co             Agtech VI, LLC                     BDS Souderton
P.O. Box 5285                       6115 Estate Smith Bay              3443 Bethlehem Pike
Princeton, NJ 08543-5282            East End Plaza Suite 120           Souderton, PA 18964
                                    St. Thomas VI 00802


Trout Brothers                      Bouder Mechanical Services, Inc.   Classic Services, Inc.
164 Badman Road                     67 Cooper Avenue                   248 W Broad Street
Green Lane PA 18054                 Landisville PA 17538               Quakertown, PA 18951



Aftek, Inc.                         ETOH Worldwide LLC                 Good Plumbing, Heating, A/C, Inc.
740 Driving Park Avenue             6115 Estate Smith Bay              737 Hagey Center Dr. d
Rochester, NY 14613-0000            East End Plaza Suite 120           Souderton, PA 18964
                                    St. Thomas, VI 00802


Berkley Insurance Co.               Hoover Materials Handling Group    KorPack
475 Steamboat Road                  33 W Higgins Road, Ste 3000        290 Madsen Dr #101
Floor 1                             South Barrington, IL 60010         Bloomingdale, IL 60108
Greenwich, CT 06830


Devault Refrigeration               Technical Beverage Services        LANE IP LIMITED
731 Wambold Road                    120 Leesburg Road                  The Forum, First Floor
Souderton, PA 18964                 Telford, TN 37690                  33 Gutter Lane
                                                                       London Ec2V8AS




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                                                SERVICE LIST
McCallion Staffing Specialists      NYCO Corporation                  PennyPower
601 A Bethlehem Pike                1073 S County Line Road #B        202 S 3rd Street
Montgomeryville, PA 18936           Souderton, PA 18964               Coopersburg, PA 18036



The Cincinnati Insurance Company    Sunteck                            Berlin Packaging, LLC
334 Jefferson Ct.                   125 Sunteck Lane                  525 West Monroe Street
Collegeville, PA 19426              Cresco, PA 18326                  14th Floor
                                                                      Chicago, IL 60661-0000


Foodarom                            Michael G. Menkowitz, Esq.        Brian A. Berkley, Esq
5525 West 1730 South                Fox Rothschild, LLP               Fox Rothschild, LLP
Suite 202                           2000 Market Street, 20th Floor    10 Sentry Parkway, Suite 200
Salt Lake City, UT 84104-0000       Philadelphia, PA 19103            P.O. Box 3001
                                                                      Blue Bell, PA 19422-3001
Jeffrey Kurtzman, Esquire
Kurtzman/Steady, LLC
101 N. Washington Ave., Suite 4A
Margate, NJ 08403




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